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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :
                                                       :
        v.                                             :    Case No. 22-cr-00010 (RJL)
                                                       :
AVERY MACCRACKEN,                                      :
                                                       :
             Defendant                                 :


                         JOINT MOTION FOR RELEASE ON BOND

       The United States of America and Mr. MacCracken Avery MacCracken, through counsel

move this Court for an order releasing the Mr. MacCracken on bond pursuant to 18 U.S.C. § 3142.

In support of this motion, the parties state as follows:

   1. On December 10, 2021, Mr. MacCracken was charged by complaint with several felony

       and misdemeanor counts related to the events at the United States Capitol on January 6,

       2021.

   2. On December 10, 2021, Mr. MacCracken was arrested in the District of Colorado.

   3. On December 17, 2021, a detention hearing was held before the Honorable Gordon P.

       Gallagher, United States Magistrate Judge, United States District Court for the District of

       Colorado, at which Mr. MacCracken was ordered detained.

   4. On January 12, 2022, Mr. MacCracken was indicted in the District of Columbia, and

       charged in a 7 count indictment:

             a. Count 1: 18 U.S.C. § 231(a)(3) (Civil Disorder);

             b. Count 2: 18 U.S.C. §§ 111(a)(1) and (b) (Inflicting Bodily Injury on Certain
                Officers);

             c. Count 3: 18 U.S.C. § 111(a)(1) (Assaulting, Resisting, or Impeding Certain
                Officers);
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          d. Count 4: 18 U.S.C. § 1752(a)(1) (Entering and Remaining in a Restricted Building
             or Grounds);

          e. Count 5: 18 U.S.C. § 1752(a)(2) (Disorderly or Disruptive Conduct in a Restricted
             Building or Grounds);

          f. Count 6: 18 U.S.C. § 1752(a)(4) (Engaging in Physical Violence in a Restricted
             Building or Grounds); Count 7 40 U.S.C. § 5104(e)(2)(F) (Act of Physical Violence
             on Capitol Grounds).

   5. Mr. MacCracken was arraigned Court on January 13, 2022, and pleaded not guilty to the

      indictment.

   6. Since the arraignment, counsel for Mr. MacCracken reached out to the Government

      regarding the facts underlying the assault alleged in the indictment.

   7. The Government further investigated the facts underlying the alleged offenses, and

      specifically Count 2, Inflicting Bodily Injury on Certain Officers.

   8. Count 2, was based, in part, on the understanding that Mr. MacCracken punched an officer

      in the face causing a laceration.        Through continued investigation, however, the

      Government has determined that Mr. MacCracken likely was not the individual who

      punched the victim police officer as originally alleged.

   9. Recognizing the changed circumstances, the Government agrees that Mr. MacCracken

      should be released on a personal recognizance bond that includes the standard conditions

      of release that are reflected in Exhibit A.

      Accordingly, the parties respectfully request that this Court grant this Joint Motion to

Release on Bond.




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                           Respectfully submitted,

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                           and

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